       Case 5:21-cv-00844-XR Document 747-28 Filed 09/01/23 Page 1 of 2




                 IN THE UNITED STATES DISTRICT COURT FOR THE
                          WESTERN DISTRICT OF TEXAS
                             SAN ANTONIO DIVISION


 LA UNIÓN DEL PUEBLO ENTERO, et al.,

        Plaintiffs,
                                                           CIVIL ACTION NO.
 v.                                                           5:21-cv-844-XR
                                                      [Consolidated Action: Lead Case]
 STATE OF TEXAS, et al.,

        Defendants.


 HARRIS COUNTY REPUBLICAN PARTY, et al.,

                Intervenor-Defendants.



  [PROPOSED] ORDER GRANTING LUPE PLAINTIFFS’ OPPOSED MOTION TO
STRIKE THE DECLARATION OF JONATHAN WHITE AND MOTION IN LIMINE TO
  EXCLUDE TESTIMONY ABOUT NON-PUBLIC INFORMATION RELATING TO
     INVESTIGATIONS AND PROSECUTIONS OF ALLEGED VOTER FRAUD


       Before the Court is LUPE Plaintiffs’ Opposed Motion to Strike the Declaration of Jonathan

White and Motion in Limine to Exclude Testimony About Non-Public Information Relating to

Investigations and Prosecutions of Alleged Voter Fraud. Dkt. _____. Upon the Court’s review

of the motion, the Motion to Strike is GRANTED and the Motion in Limine is GRANTED.


       It is hereby ORDERED that the portions redacted in Exhibit A of the instant motion are

struck from the record. See Dkts. 645-5 at 14-23 (exhibit to the State’s response to the United

States’ motion for summary judgment) and 646-3 at 29-38 (exhibit to the State’s response to OCA

Plaintiffs’ motion for summary judgment). It is further ORDERED that testimony by Mr. White




                                                                                              1
        Case 5:21-cv-00844-XR Document 747-28 Filed 09/01/23 Page 2 of 2




or any other State witness about or based on non-public information regarding investigations or

prosecutions of alleged voter fraud is excluded.


SO ORDERED and SIGNED this _______ day of ________________________ 2023.


                                             _______________________________________
                                             HON. XAVIER RODRIGUEZ




                                                                                             2
